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                             United States District Court
                                       for the
                             Southern District of Florida

   Kenneth C. Griffin, Plaintiff,        )
                                         )
   v.                                    )
                                         ) Civil Action No. 22-24023-Civ-Scola
   Internal Revenue Service and U.S.     )
   Department of the Treasury,           )
   Defendantd.                           )

                        Second Amended Scheduling Order
         Plaintiff Kenneth C. Griffin seeks a 90-day extension of the remaining
  deadlines in this case. (Pl.’s Mot., ECF No. 138.) Griffin previously sought (on
  an unopposed basis), and was granted, a five-month extension of the deadlines
  in this case. (Am. Sched. Order, ECF No. 75.) In support of his second request,
  which the Government opposes (Def.’s Resp., ECF No. 142), Griffin recounts
  some of the history of the discovery in this case, a substantial portion of which
  predated Griffin’s first request for an extension. The main thrust of Griffin’s
  argument, though, is that the Court only recently ordered the Government to
  produce voluminous discovery, that discovery was due for production on May
  29 (less two weeks before the close of discovery), and Griffin will need to review
  that discovery—which Griffin describes as spanning thousands of documents—
  in order to adequately prepare for several recently, or soon-to-be, scheduled
  depositions. (Mot. at 5, 10 (“Absent a scheduling adjustment at this point . . .
  Griffin will be forced to take depositions without critical evidence . . . .”).)
  Griffin complains that his current time predicament is solely the result of the
  Government’s “fail[ure] to comply with its discovery obligations” (Sternberg Aff.
  ¶ 3, ECF No. 138-1), which he repeatedly describes as “stonewalling” Griffin’s
  discovery efforts (Pl.’s Mot. at 5, 6, 7, 11, 12), requiring him, on several
  occasions, to seek intervention from the Court (e.g. Pl.’s Mot. at 3 (identifying
  multiple discovery hearings and an April 24, 2024, motion to compel)). At the
  same time, Griffin maintains he has diligently and steadily sought this
  discovery from the Government. (Sternberg Aff. ¶ 4; Mot. at 1, 5–7, 10, 11.)
  While the Court recognizes some obstacles to the timely completion of discovery
  in this case—even the Government recognizes that “[d]iscovery in this case has
  been contentious”—the Court does not find a 90-day extension of the
  remaining deadlines and settings in this case justified.
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         First, without any explanation or factual support, Griffin says that,
  absent the extra 90 days, 1 he will be unable to review the Government’s
  compelled production in order to adequately prepare for several upcoming
  depositions. Second, nowhere does Griffin describe seeking Court intervention
  with any urgency—for example, it doesn’t appear that Griffin ever informed the
  Court that he required an expedited ruling in order to be able to depose all his
  witnesses by the discovery deadline. Indeed, even the instant motion did not
  seek expedited relief or even briefing, despite the looming June 10-discovery
  deadline. These shortcomings are especially noteworthy in light of the Court’s
  admonishment, in ruling on Griffin’s previous request, that “any further
  extensions are unlikely to be granted absent particularly extenuating
  circumstances.” (Am. Sched. Order at 1 (emphasis in original).)
         That said, while Griffin may not have been as diligent as he could have
  been, the Court nonetheless recognizes that Griffin’s predicament has indeed
  been occasioned by difficulties encountered by the Government’s refusal to
  supply discovery that the Court has ultimately determined should have been
  produced. Accordingly, and in recognition that it appears the Government is
  amenable to a shorter delay (Def.’s Resp. at 3 (noting that the Government had
  proposed an eighteen-day extension for the purpose of scheduling
  depositions)), the Court grants Griffin’s motion in small part (ECF No. 138).
  The Court extends the discovery deadline by an additional three weeks for the
  limited purpose of allowing extra time for Griffin to review the Government’s
  recently compelled production in preparation for the upcoming depositions and
  to reschedule those depositions, if necessary. Going forward, the parties are
  forewarned, absent circumstances amounting to a bona fide emergency,
  the Court will not consider further extensions. 2
         This action is thus reset for trial during the two-week trial period
  beginning on November 18, 2024. Calendar call will, accordingly, be held at
  9:00 a.m. on the preceding Tuesday, November 12, 2024, at the Wilkie D.
  Ferguson, Jr. United States Courthouse, 400 N. Miami Avenue, Courtroom 12-
  3, Miami, Florida. A pretrial conference will be held immediately following
  calendar call only if requested by the parties in advance.
      1. The parties must comply with the following amended schedule:



  1 In reply, Griffin concedes a 60-day extension would suffice, “if necessary.” (Pl.’s Reply at 5.)

  2 Because moving the deadline for fact discovery necessarily impacts the dispositive-motion

  deadline, which, in turn, impacts the trial date, those related settings have been adjusted
  accordingly. On the other hand, Griffin does not indicate that either the expert-discovery
  deadlines or the deadline to mediate or consent to jurisdiction before the magistrate judge
  require enlargement and so those deadlines remain unchanged.
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       passed        Deadline to join additional parties or to amend pleadings.

      completed      Deadline to file joint interim status report.

                     Deadline to file Proposed Order Scheduling Mediation, setting
                     forth the name of the mediator, and the date, time, and
      completed      location of the mediation, consistent with the Order of Referral
                     to Mediation (which immediately follows the initial scheduling
                     order).

                     Deadline to submit joint notice indicating whether the parties
                     consent to jurisdiction before the designated magistrate judge
                     for purposes of final disposition.
                     Deadline to exchange expert witness summaries/reports
                     pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                     disclosures are permitted, and must conform to the deadline
    June 10, 2024    set forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).
     (unchanged)
                     (When a treating physician testifies regarding opinions formed and
                     based upon observations made during the course of treatment, the
                     treating physician need not produce a Rule 26(a)(2)(B) report. By
                     contrast, treating physicians offering opinions beyond those arising
                     from treatment are experts from whom full Rule 26(a)(2)(B) reports
                     are required. See, Muzaffarr v. Ross Dress for Less, Inc., No. 12-
                     61996-CIV, 2013 WL 3850848, at *1 (S.D. Fla. July 26, 2013).)

     July 1, 2024    Deadline to complete all fact discovery.

                     Deadline to complete mediation, consistent with the Order of
     July 8, 2024
                     Referral to Mediation (which immediately follows the initial
     (unchanged)
                     scheduling order).
    July 15, 2024,
                     Deadline for the filing of all dispositive motions.
         2024
      August 12,
         2024        Deadline to complete all expert discovery.
     (unchanged)
    September 17,    Deadline for the filing of pretrial motions, including motions in
        2024         limine and Daubert motions.

                     Deadline to file joint pretrial stipulation under Local Rule
     October 21,
                     16.1(e) and pretrial disclosures as required by Federal Rule of
        2024
                     Civil Procedure 26(a)(3).
     November 4,     Deadline to file proposed jury instructions (if the matter is set
        2024         for a jury trial) or proposed findings of fact and conclusions of
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                    law (if the matter is set for a bench trial) consistent with Local
                    Rule 16.1(k).

      2. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      3. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion. If a party cannot address
  his or her evidentiary issues or expert challenges in a 20-page motion, leave to
  exceed the page limitation will be granted upon a showing of good cause. The
  parties are reminded that motions in limine and Daubert motions must contain
  the Local Rule 7.1(a)(3) pre-filing conference and certification.
     4. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
     5. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial. This list must
  indicate the pre-marked identification label (e.g., P-1, or D-A) and must also
  include a brief description of the exhibit.
     6. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing. The designations must be served on opposing counsel
  and filed with the Court 14 days before the deadline to file the joint pretrial
  stipulation. The adverse party must serve and file any objections and any
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  cross-designations within seven days. The initial party then has seven days to
  serve and file objections to the cross-designations.
     7. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may submit up to five proposed, case-
  specific questions to be included in the questionnaire. The proposed questions
  must be filed with the Court at the time of the filing of the joint pretrial
  stipulation, and must also be submitted to the Court via e-mail at
  scola@flsd.uscourts.gov in Word format (.doc).
     8. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
      9. Settlement Conference Before Magistrate Judge. The parties may, at any
  time, file a motion requesting a settlement conference before United States
  Magistrate Judge Jonathan Goodman. The Court encourages the parties to
  consider a confidential settlement conference with Judge Goodman, especially
  if the parties believe there is a meaningful chance of reaching an early,
  amicable resolution of their dispute.
     10.       Settlement Notification. If this matter is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or e-
  mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida on May 30, 2024.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
